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                 EXHIBIT C
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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             OCALA DIVISION


FREDDY LORENZO ADAMS                            CASE NO.:

Plaintiff,

V.


LIFE CARE CENTERS OF AMERICA,
INC.
d/b/a LIFE CARE CENTER OF OCALA

Defendant.




        DECLARATION OF JOSEPH M. JICHA IN SUPPORT OF
      DEFENDANT’S NOTICE OF AND PETITION FOR REMOVAL

STATE OF FLORIDA)

COUNTY OF MARION)

      I, Joseph M. Jicha, being over 18 years of age and competent to testify as to

the following matters contained herein, declare and state as follows based upon

personal knowledge:

      1.     I am employed by Life Care Centers of America, Inc. (“Life Care”), in

the position of Executive Director.
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        2.    The information contained in this Declaration is true and correct, and

based on my personal knowledge       and review of personnel and other corporate

records maintained by Life Care in the regular course of business.

        3.    Plaintiff, Freddy Lorenzo Adams, was employed by Life Care from

December 28, 2022, to February 28, 2023. At the time of Plaintiffs separation from

employment, he earned $17.00 per hour, and worked approximately 40 hours per

week,

        4.    Life Care has its principal place of business in Cleveland, Tennessee,

and is organized under the laws of Tennessee.

        Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury of the

laws of the United States of America that the foregoing is true and correct.

        Executed this 12" day of February 2024.




                                        Jor M. Jicha/
                                                      J
